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                                                                                             1/13/21
                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,                                          3:21-cr-003
                                                        CASE NO. _________________
                Plaintiff,                                      Thomas M. Rose
                                                        JUDGE ____________________
        vs.
                                                        INFORMATION
 SHAWN DEPWEG,
                                                        18 U. S. C. § 641
                Defendant.



THE UNITED STATES ATTORNEY CHARGES:


                                           COUNT 1
                                    (Theft of Public Money)

       From in or about July 2016, and continuing through in or about September 2019, in the

Southern District of Ohio, the defendant, SHAWN DEPWEG, did knowingly and willfully

embezzle, steal, purloin, and convert to his own use and the use of another, on a recurring basis,

money belonging to the United States and a department and agency thereof in a total amount

greater than $1,000, namely, Social Security benefits having a value of approximately

$43,836.60.

       In violation of 18 U.S.C. § 641.

                                             DAVID DEVILLERS
                                             UNITED STATES ATTORNEY



                                             TIMOTHY LANDRY (MA 669554)
                                             SPECIAL ASSISTANT U.S. ATTORNEY
